Case 3:11-md-02244-K Document 1013 Filed 06/14/19                  Page 1 of 1 PageID 40250


                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                      Electronically Filed

                                                )
                                                )     MDL 2244
 IN RE: DEPUY ORTHOPAEDICS, INC.                )
 PINNACLE HIP IMPLANT PRODUCT                   )
 LIABILITY LITIGATION                           )     Honorable Ed Kinkeade
                                                )
 This Document Relates To:                      )
                                                )
 ALL CASE CAPTIONS ATTACHED                     )

                     PLAINTIFFS’ NOTICE WITHDRAWING
                 MOTION FOR CASE MANAGEMENT CONFERENCE

       Plaintiffs Marcia Darrah, Christine Darby and Charles Darby, and Mike Siptrott and Lori

Siptrott hereby withdraw their Motion for Case Management Conference [MDL DKT. #1008;

Darrah DKT #9; Darby DKT #9; and Siptrott DKT #10].

                                CERTIFICATE OF SERVICE

       I hereby certify that on June 14, 2019, I electronically filed the foregoing document with

the Clerk of the court using CM/ECF system which will send notification of such filing to the

CM/ECF participants registered to receive service in this MDL.

Dated: June 14, 2019                         Respectfully Submitted,

                                             CORRIE YACKULIC LAW FIRM

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